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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                  4:09CR3031
                                          )
             V.                           )
                                          )
MICHAEL KONING,                           )                     ORDER
LOWELL BAISDEN,                           )
SUSAN BAISDEN-KONING,                     )
                                          )
                    Defendants.           )
                                          )


        IT IS ORDERED that the plaintiff’s motion (filing 161) to extend response date to
statement of objections to magistrate’s findings and recommendations is granted. The
plaintiff’s response is due January 21, 2011.

      DATED this 18th day of January, 2011.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
